Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 1 of 55




                            NO. 20-10242

 IN THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT



                 UNITED STATES OF AMERICA
                       Plaintiff-Appellee

                                  v.

                         JACOB LYMAN
                        Defendant-Appellant



Appeal from the United States District Court for the District of Hawaii
          United States District Judge Derrick K. Watson
             District Court No. 1:12-cr-01256-DKW-1




        DEFENDANT-APPELLANT’S OPENING BRIEF




                           Peter C. Wolff, Jr.
                           Federal Public Defender, District of Hawaii

                           Max J. Mizono
                           Assistant Federal Defender
                           300 Ala Moana Boulevard, Suite 7104
                           Honolulu, Hawaii 96850
                           Telephone (808) 541-2521
                           Facsimile (808) 541-3545
                           E-Mail max_mizono@fd.org

                           Counsel for Jacob Lyman
        Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 2 of 55




                                                     Contents

Jurisdiction ........................................................................................................ 1

Bail Status ......................................................................................................... 1

Issues ................................................................................................................. 1

Pertinent Legal Provisions ................................................................................ 2

Case Statement .................................................................................................. 6

Argument Summary ........................................................................................ 13

Argument ......................................................................................................... 15

         1. Standards of Review ........................................................................ 15

         2. Stinson deference ............................................................................. 16

         3. Physical and medical condition ....................................................... 31

         4. Relevance of the post-FSA mandatory minimum ........................... 41

Conclusion ....................................................................................................... 45

Statement of Related Cases

Form 8 Certificate of Compliance




                                                            i
       Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 3 of 55




                                        Table of Authorities
Cases
Lewis v. Liberty Mut. Ins. Co., 953 F.3d 1160 (CA9 2020) ........................... 41
Stinson v. United States, 508 U.S. 36 (1993) ....................................... 9, passim
Torres v. Milusnic, DC No. 2:20-cv-04450-CBM-PVC (C.D. Cal.) ........ 38, 40
United States v. Aruda, ___ F.Supp.3d ___,
       2020 WL 4043496 (D. Haw.) (2020) ................................................... 11
United States v. Baclaan,
       2020 WL 2820199 (D. Haw.) (May 29, 2020) (slip copy) ................... 11
States v. Ben-Yhwh, 435 F.Supp.3d 1324 (D. Haw. 2020) ............................. 11
United States v. Bryant,
       2020 WL 2085471 (D. Md.) (Apr. 30, 2020) (slip copy) ..................... 43
United States v. Caminos, ___ F.Supp.3d ___,
       2020 WL 4199704 (D. Haw. 2020) (JMS) ........................................... 11
United States v. Cantu-Rivera, 2019 WL 2578272
       (S.D. Tex.) (June 24, 2019) (unpublished) ........................................... 43
United States v. Cavera, 550 F.3d 180 (CA2 2008) (en banc) ....................... 43
United States v. Chan,
       2020 WL 1527895 (N.D. Cal.) (Mar. 31, 2020) (slip copy) ................ 43
United States v. Cisneros,
       2020 WL 3065103 (D. Haw. (SOM)) (June 9, 2020)
       (slip copy) ................................................................................. 10, 29, 43
United States v. Contreras, 2020 WL 3642247
       (D. Haw. (DKW)) (July 6, 2020) (slip copy) ....................................... 11
United States v. Cuevas-Lopez, 934 F.3d 1056 (CA9 2019) .......................... 16
United States v. Galu, 2020 WL 5521034
       (D. Haw. (SOM)) (Sept. 14, 2020) (slip copy) ..................................... 11
United States v. Garcia, 2020 WL 3547933
       (D. Haw. (HG)) (June 30, 2020) (slip copy) ......................................... 11
United States v. Hernandez, 2020 WL 3453839
       (D. Haw. (JMS)) (June 24, 2020) (slip copy) ................................. 11, 30
United States v. Hernandez, 2020 WL 5521035
       (D. Haw. (SOM)) (Sept. 14, 2020) (slip copy) ..................................... 11
United States v. Iwai, 2020 WL 3258405
       (D. Haw. (DKW)) (June 15, 2020) (slip copy) ..................................... 12
United States v. Kamaka, 2020 WL 2820139
       (D. Haw. (SOM)) (May 29, 2020) (slip copy) ...................................... 11
United States v. Kapeli,
       DC No. 1:16-cr-00172-JMS (D. Haw.) (Sept. 18, 2020) ..................... 39

                                                      ii
      Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 4 of 55




United States v. Kazanowski, 2020 WL 3578310
      (D. Haw. (DKW)) (July 1, 2020) (slip copy) ....................................... 11
United States v. Kealoha, 2020 WL 3735773
      (D. Haw. (DKW)) (July 6, 2020) (slip copy) ............................. 9, 11, 29
United States v. Khoury, 62 F.3d 1138 (CA9 1995) ....................................... 31
United States v. Lillard, 354 F.3d 850 (CA9 2003) ........................................ 16
United States v. Lum, 2020 WL 3472908
      (D. Haw. (DKW)) (June 25, 2020) (slip copy) ..................................... 11
United States v. Lyman, 2020 WL 4318754
      (D. Haw. (DKW)) (July 27, 2020) (slip copy) ..................................... 11
United States v. Malufau, ___ F.Supp.3d ___,
      2020 WL 4218038 (D. Haw. 2020) (LEK) ........................................... 11
United States v. Maumau, 2020 WL 806121
      (D. Utah) (Feb. 18, 2020) (slip copy) ................................................... 44
United States v. McEnry, 659 F.3d 893 (CA9 2011) ...................................... 15
United States v. Mondaca, 2020 WL 1029024
      (S.D. Cal.) (Mar. 3, 2020) (slip copy) .................................................. 43
United States v. Morales, 972 F.2d 1007 (CA9 1992) .................................... 31
United States v. Paul, 561 F.3d 970 (CA9 2009) ........................................... 45
United States v. Perez, 962 F.3d 420 (CA9 2020) .......................................... 16
United States v. Quinn, ___ F.Supp.3d ___,
      2020 WL 3275736 (N.D. Cal. 2020) .................................................... 43
United States v. Quintero, 2020 WL 3639936
      (N.D. Cal.) (July 6, 2020) (slip copy) ................................................... 43
United States v. Rodrigues, 2020 WL 5351029
      (D. Haw. (DKW)) (Sept. 4, 2020) (slip copy) ................................ 11, 29
United States v. Schweder, 2020 WL 5257598
      (E.D. Cal.) (Sept. 3, 2020) (slip copy) .................................................. 30
United States v. Seals, 2020 WL 3578289
      (D. Haw. (SOM)) (July 1, 2020) (slip copy) ........................................ 11
United States v. Tufele, 2020 WL 5223775
      (D. Haw. (DKW)) (Sept. 1, 2020) (slip copy) ...................................... 11
United States v. Wallace, No. 1:16-cr-00744-DKW-9 (D. Haw.) .................. 10
United States v. Washington, 971 F.3d 856 (CA9 2020) ................................ 15
United States v. Wei Lin, 841 F.3d 823 (CA9 2016) ...................................... 15
United States v. Wong, 2020 WL 3415870
      (D. Haw. (DKW)) (June 22, 2020) (slip copy) ..................................... 12
United States v. Yellin, 2020 WL 3488738
      (S.D. Cal.) (June 26, 2020) (slip copy) ................................................. 36

                                                iii
       Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 5 of 55




United States v. Zullo, ___ F.3d. ___,
      2020 WL 5739712 (CA2 2020) ............................................... 24, passim
United States v. Zuniga, 66 F.3d 225 (CA9 1995) .......................................... 16

Constitutional Provision
U.S. Const., amend. VIII ................................................................................... 2

Statutes
18 U.S.C. §3142 ............................................................................................ 3, 4
18 U.S.C. §3231 ................................................................................................ 1
18 U.S.C. §3553 ................................................................................... 2, passim
18 U.S.C. §3559 ............................................................................................ 2–4
18 U.S.C. §3582 ............................................................................................ 2–4
21 U.S.C. §841 ................................................................................ 7, 14, 41, 42
21 U.S.C. §851 .............................................................................................. 6, 7
28 U.S.C. §994 ................................................................................................ 43
28 U.S.C. §1291 ................................................................................................ 1

Guideline
USSG §1B1.13 ..................................................................................... 1, passim

Other Authority
BOP Coronavirus web page, https://www.bop.gov/coronavirus .................... 32
Clinical Questions about Covid-19: Questions and Answers:
      Transmission: Can people who recover from Covid-19 be
      re-infected with SARS-CoV-2, CDC (Aug. 4, 2020),
      www.cdc.gov/coronavirus/2019-ncov/hcp/
      faq.html#Transmission ......................................................................... 35
Covid-19 Hospitalization and Death by Age, CDC (Aug. 18, 2020),
      www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-
      discovery/hospitalization-death-by-age.html ...................................... 34
Haseltine, William A., What Covid-19 Reinfection Means for Vaccines,
      Scientific American (Sept. 23, 2020),
      www.scientificamerican.com/article/
      what-covid-19-reinfection-means-for-vaccines/ ................................... 35
How to Protect Yourself & Others, CDC (Sept. 11, 2020),
      www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.
      html ...................................................................................................... 33


                                                        iv
       Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 6 of 55




Human Rights Watch & Families Against Mandatory Minimums,
      The Answer Is No: Too Little Compassionate Release in
      US Federal Prisons (Nov. 2012), available at
      www.hrw.org/sites/default/files/reports/us1112ForUploadSm.pdf ...... 20
Inmate Death at FCI Butner (Low), BOP Press Release (Sept. 17, 2020),
      www.bop.gov/resources/news/pdfs/20200917
      _press_release_bux.pdf ......................................................................... 37
Inmate Death at FCI Edgefield, BOP Press Release (Sept. 25, 2020),
      www.bop.gov/resources/news/
      pdfs/220200926_press_release_johnson.pdf ........................................ 37
Inmate Death at FMC Carswell, BOP Press Release (Aug. 26, 2020),
      www.bop.gov/resources/news/pdfs/
      20200826_press_release_crw.pdf ......................................................... 37
Inmate Death at FMC Lexington, BOP Press Release (July 31, 2020),
      www.bop.gov/resources/
      news/pdfs/20200731_press_release_lex.pdf ........................................ 38
Inmate Death at FMC Lexington, BOP Press Release (Sept. 25. 2020),
      www.bop.gov/resources/news/pdfs/20200925_press_release_lex.pdf 37
Inmate Death at Lompoc FCI, BOP Press Release (May 29, 2020),
      www.bop.gov/resources/news/pdfs/20200529_press
      _release_lox.pdf .................................................................................... 40
Inmate Death at Lompoc FCI, BOP Press Release (June 1, 2020),
      www.bop.gov/resources/news/pdfs/20200601_press_release
      _lom.pdf ................................................................................................ 40
Inmate Death at the FCI Terminal Island, BOP Press Release (May 27, 2020),
      www.bop.gov/resources/news/pdfs/
      20200527_press_release_trm.pdf ......................................................... 36
Lapid, Nancy, Covid-19 reinfection detected in U.S. patient;
      saliva tests endorsed, Reuters (Aug. 28, 2020), www.reuters.com/
      article/us-health-coronavirus-science-
      idUSKBN25O2UP?taid=5f497d444b
      992e000118c1b1&utm_campaign=trueAnthem:+Trending+Content&utm
      _medium=trueAnthem&utm_source=twitter ....................................... 36
Ledford, Heidi, Coronavirus reinfections: three questions scientists
      are asking, Nature (Sept. 4, 2020), www.nature.com/articles/d41586-
      020-02506-y .......................................................................................... 35




                                                        v
       Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 7 of 55




Minsky, Dave, Nearly all inmates at Lompoc FCI tested positive for
      coronavirus, most asymptomatic, Lompoc Record (June 5, 2020),
      www.lompocrecord.com/news/local/crime-and-courts/nearly-all-inmates-
      at-lompoc-fci-tested-positive-for-coronavirus-most-
      asymptomatic/article_f3fb06d7-f231-52b3-8f89-f21f11b73974.html . 40
People with Certain Medical Conditions, CDC (Sept. 11, 2020),
      www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
      with-medical-conditions.html ............................................................... 33
S. Rep. No. 98-225 (1984) .............................................................................. 44
Thomas, Liji, MD, Does cholesterol play a role in Covid-19?,
      News Medical Life Sciences (May 12, 2020), www.news-
      medical.net/news/20200512/Does-cholesterol-play-a-role-in-COVID-
      19.aspx .................................................................................................. 33
Updated Isolation Guidance does not Imply Immunity to Covid-19,
      CDC (Aug. 14, 2020), www.cdc.gov/
      media/releases/2020/s0814-updated-isolation-guidance.html .............. 35
WebMD, Coronavirus Immunity and Reinfection,
      www.webmd.com/lung/coronavirus-immunity-reinfection#1 ............. 36




                                                        vi
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 8 of 55




                                  Jurisdiction

      This appeal arises from the district court’s order denying defendant-

appellant Jacob Lyman’s compassionate release motion under 18 U.S.C.

§3582(c)(1)(A). The district court filed that order on July 27, 2020. Defendant-

Appellant’s Excerpts of Record (ER) at ER-1–ER-6. Lyman filed notice of

appeal on July 28, 2020. ER-7–ER-8. The district court had jurisdiction under

18 U.S.C. §3231 and §3582. This Court has jurisdiction under 28 U.S.C. §1291.

                                   Bail Status

      Lyman is incarcerated at Lompoc FCI with a projected release of

December 14, 2029.

                                      Issues

      1.     Did the district court wrongly defer to USSG §1B1.13 to limit its

discretion to grant a defendant’s ‘compassionate release’ motion under

§3582(c)(1)(A)?

      2.     Did the district court erroneously determine Lyman’s physical and

medical condition, which increased his risk of hospitalization and death from

Covid-19, did not substantially diminish his ability to care for himself in

Lompoc FCI or otherwise constitute an extraordinary and compelling reason to

reduce his sentence under §3582(c)(1)(A)?




                                        1
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 9 of 55




      3.     Did the district court wrongly conclude a change in sentencing

law—here, the First Step Act’s lowering of the statutory mandatory minimum

applicable to Lyman’s offense conduct and criminal history—was irrelevant in

a §3582(c)(1)(A) compassionate release proceeding?

                          Pertinent Legal Provisions

      “Excessive bail shall not be required, nor excessive fines imposed, nor

cruel and unusual punishments inflicted.” U.S. Const., amend. VIII.

      The court may not modify a term of imprisonment once it has been
      imposed except that—

           (1) in any case—

             (A) the court, upon motion of the Director of the Bureau of
             Prisons, or upon motion of the defendant after the defendant
             has fully exhausted all administrative rights to appeal a
             failure of the Bureau of Prisons to bring a motion on the
             defendant’s behalf or the lapse of 30 days from the receipt of
             such a request by the warden of the defendant’s facility,
             which is earlier, may reduce the term of imprisonment (and
             may impose a term of probation or supervised release with
             or without conditions that does not exceed the unserved
             portion of the original term of imprisonment), after
             considering the factors set forth in section 3553(a) to the
             extent that they are applicable, if it finds that—

                (i) extraordinary and compelling reasons warrant such a
                reduction; or

                (ii) the defendant is at least 70 years of age, has served
                at least 30 years in prison, pursuant to a sentence
                imposed under section 3559(c), for the offense or
                offenses for which the defendant is currently imprisoned,


                                        2
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 10 of 55




               and a determination has been made by the Director of the
               Bureau of Prisons that the defendant is not a danger to
               the safety of any other person or the community, as
               provided under section 3142(g);

      and that such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission[.]

18 U.S.C. §3582(c) (eff. 12/21/18) (First Step Act of 2018, Pub. L. No. 115-

391, §603, 132 Stat. 5194, 5239, amendment emphasized).

      The court may not modify a term of imprisonment once it has been
      imposed except that—

         (1) in any case—

            (A) the court, upon motion of the Director of the Bureau of
            Prisons, may reduce the term of imprisonment (and may
            impose a term of probation or supervised release with or
            without conditions that does not exceed the unserved portion
            of the original term of imprisonment), after considering the
            factors set forth in section 3553(a) to the extent that they are
            applicable, if it finds that—

               (i) extraordinary and compelling reasons warrant such a
               reduction; or

               (ii) the defendant is at least 70 years of age, has served
               at least 30 years in prison, pursuant to a sentence
               imposed under section 3559(c), for the offense or
               offenses for which the defendant is currently imprisoned,
               and a determination has been made by the Director of the
               Bureau of Prisons that the defendant is not a danger to
               the safety of any other person or the community, as
               provided under section 3142(g);

      and that such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission[.]


                                        3
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 11 of 55




18 U.S.C. §3582(c) (eff. 11/02/02 to 12/20/18).

      Upon motion of the Director of the Bureau of Prisons under 18
      U.S.C. §3582(c)(1)(A), the court may reduce a term of
      imprisonment (and may impose a term of supervised release with
      or without conditions that does not exceed the unserved portion of
      the original term of imprisonment) if, after considering the factors
      set forth in 18 U.S.C. §3553(a), to the extent that they are
      applicable, the court determines that—

         (1)      (A) extraordinary and compelling reasons warrant the
                  reduction; or

                  (B) the defendant (i) is at least 70 years old; and (ii) has
                  served at least 30 years in prison pursuant to a sentence
                  imposed under 18 U.S.C. §3559(c) for the offense or
                  offenses for which the defendant is imprisoned;

         (2) the defendant is not a danger to the safety of any other
         person or the community, as provided in 18 U.S.C. §3142(g);
         and

         (3) the reduction is consistent with this policy statement.

USSG § 1B1.13 (eff. 11/01/18).

      1. Extraordinary and Compelling Reasons.—Provided the
      defendant meets the requirements of subdivision (2), extraordinary
      and compelling reasons exist under any of the circumstances set
      forth below:

         (A) Medical Condition of the Defendant—

               (i) The defendant is suffering from a terminal illness (i.e., a
               serious and advanced illness with an end of life trajectory).
               A specific prognosis of life expectancy (i.e., a probability of
               death within a specific time period) is not required.
               Examples include metastatic solid-tumor cancer,



                                          4
Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 12 of 55




        amyotrophic lateral sclerosis (ALS), end-stage organ
        disease, and advanced dementia.

        (ii) The defendant is—

           (I) suffering from a serious physical or medical
           condition,

           (II) suffering from a serious functional or cognitive
           impairment, or

           (III) experiencing deteriorating physical or mental
           health because of the aging process,

    that substantially diminishes the ability of the defendant to
    provide self-care within the environment of a correctional
    facility and from which he or she is not expected to recover.

    (B) Age of the Defendant.—The defendant (i) is at least 65
    years old; (ii) is experiencing a serious deterioration in physical
    or mental health because of the aging process; and (iii) has
    served at least 10 years or 75 percent of his or her term of
    imprisonment, whichever is less.

    (C) Family Circumstances.

        (i) The death or incapacitation of the caregiver of the
        defendant’s minor child or minor children.

        (ii) The incapacitation of the defendant’s spouse or
        registered partner when the defendant would be the only
        available caregiver for the spouse or registered partner.


    (D) Other Reasons.—As determined by the Director of the
    Bureau of Prisons, there exists in the defendant’s case an
    extraordinary and compelling reason other than, or in
    combination with, the reasons described in subdivisions (A)
    through (C).


                                   5
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 13 of 55




USSG §1B1.13, comment. (n.1) (eff. 11/01/18).

      4. Motion by the Director of the Bureau of Prisons.—A reduction
      under this policy statement may be granted only upon motion by
      the Director of the Bureau of Prisons pursuant to 18 U.S.C.
      §3582(c)(1)(A). The Commission encourages the Director of the
      Bureau of Prisons to file such a motion if the defendant meets any
      of the circumstances set forth in Application Note 1. The court is
      in a unique position to determine whether the circumstances
      warrant a reduction (and, if so, the amount of reduction), after
      considering the factors set forth in 18 U.S.C. §3553(a) and the
      criteria set forth in this policy statement, such as the defendant’s
      medical condition, the defendant’s family circumstances, and
      whether the defendant is a danger to the safety of any other person
      or the community.

USSG §1B1.13, comment. (n. 4) (eff. 11/01/18).

      5. Application of Subdivision (3).—Any reduction made pursuant
      to a motion by the Director of the Bureau of Prisons for the reasons
      set forth in subdivisions (1) and (2) is consistent with this policy
      statement.

USSG §1B1.13, comment. (n. 5) (eff. 11/01/18).

                               Case Statement

      In 2015, the district court sentenced Lyman to 20 years of imprisonment

and 10 years of supervised release on a drug offense. ER-10–ER-12. The

government filed an §851 notice, which weaponized Lyman’s prior drug

conviction 1 to trigger a 20-year (statutory mandatory minimum) imprisonment



1
      Lyman has two prior convictions. Presentence Report (PSR) at ¶¶34–43.
His prior 2003 drug conviction was the only one that resulted in criminal


                                       6
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 14 of 55




term. PSR at ¶¶58–59; 21 U.S.C. §§841 (prior to FSA amendment) and 851.

Lyman’s guideline range, had not the government filed a §851 notice, would

have been 135–168 months—on an offense level of 31 (set solely by drug

amount, as no other enhancements applied to him) and a criminal history

category of III. PSR at ¶¶23–33, 60.

      In 2018, the First Step Act lowered the statutory mandatory minimum,

from 20 years down to 15, that an §851 notice rendered applicable to a one-time

drug recidivist. First Step Act of 2018 (FSA), Pub. L. No. 115-391, §401(a),

132 Stat. 5194, 5220. The FSA, however, pinned the retroactivity line for that

change to when sentencing occurred, allowing those not yet sentenced when the

FSA went into effect on December 21, 2018, to receive the benefit of the lower

mandatory minimum, but not those sentenced beforehand. FSA, Pub. L. No.

115-391, §401(c), 132 Stat. at 5221.

      On July 2, 2020, Lyman filed a compassionate release motion, in which

he sought a sentence reduction under §3582(c)(1)(A). ER-1; ER-37. Lyman’s




history points. PSR at ¶¶36–38. His third-degree assault conviction from 1999,
committed when he was 19, was dismissed in 2001, after Lyman successfully
completed a deferral period. PSR at ¶36. The assault consisted of a group of
young men accosting two male tourists after some verbal sparring at three in the
morning; the group of men fled, but Lyman returned to the scene, admitted
taking part in the altercation, and submitted to arrest. PSR at ¶36.


                                       7
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 15 of 55




motion explained that he was severely obese (with a BMI that ranged from 40–

44.9 during his time of BOP incarceration) and that he had chronic kidney

disease, as well as asthma, hyperglycemia (high blood sugar and a diabetic

indicator), hyperlipidemia (high cholesterol), gout, and a degenerative disc

disorder, among other ailments. DC ECF 59-1 at 7–8; DC ECF 63. Lyman’s

motion summarized Lompoc FCI’s inability to prevent inmates and staff from

becoming infected with, and dying from, Covid-19. DC ECF 59-1 at 5–6. And

though Lyman was among those who had become infected and recovered, his

motion emphasized that, as of early July (when the motion was filed), the

immune response to Covid-19 was not understood. DC ECF 59-1 at 6–7.

Lyman also urged the district court to consider the FSA’s reduction of the

statutory mandatory minimum and the fact that he had served more than half of

the reduced minimum. DC ECF 65 at 3–9. The government did not oppose

Lyman’s motion. ER-2; ER-37–ER-38. The district court nonetheless denied it.

ER-1–ER-6.

      Citing both §3582(c)(1)(A) and USSG §1B1.13’s policy statement and

commentary, the district court asserted it could grant the motion, “after

considering” the sentencing factors set forth in 18 U.S.C. §3553(a), only “if …

extraordinary and compelling reasons warrant such a [sentence] reduction,

[Lyman] is not a danger to the safety of others or the community, and the


                                        8
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 16 of 55




reduction is consistent with” §1B1.13. ER-2–ER-3. The district court deferred

to one of the guideline’s application notes for the content of what constituted an

extraordinary and compelling reason to grant compassionate release. ER-3.

Pertinent here, the district court stressed that the application note required a

showing of “a serious physical or medical condition,” from which Lyman was

“not expected to recover,” and which “substantially diminish[ed]” Lyman’s

“ability … to provide self-care within” Lompoc FCI, or a showing of some

“other” reason, but only as “determined by the Director of the Bureau of

Prisons,” that either sufficed on its own or worked with the application note’s

enumerated circumstances to generate an extraordinary and compelling reason

to reduce Lyman’s sentence. ER-3.

      The district court’s recitation in this matter of the governing legal

standard is a truncated summation of what it had previously articulated at

greater length in other pandemic-related compassionate release cases, most

notably in United States v. Kealoha, 2020 WL 3735773 (D. Haw. (DKW)) (July

6, 2020) (slip copy). District Court Judge Watson has ruled that the pre-FSA

version of USSG §1B1.13 remains a binding interpretation of the post-FSA

§3582(c)(1)(A) to which he must defer under Stinson v. United States, 508 U.S.

36 (1993). Kealoha, 2020 WL 3735573, at *5–*6. Judge Watson accordingly

declines any invitation to make an independent judicial determination of


                                         9
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 17 of 55




whether the circumstances of a particular case are extraordinary and compelling

under §3582(c)(1)(A) and §1B1.13(1)(A) outside the narrow ambit that

Application Note 1 of the guideline circumscribes.2 Id.

      Largely driven by that notion, Judge Watson has yet to grant any

defendant §3582(c)(1)(A) relief during the Covid-19 pandemic. 3 United States



2
       Judge Watson isn’t just misreading the guideline, he also misreads the
statute. In another compassionate release case, Judge Watson recently ruled that
the court would hold a defendant’s motion in abeyance pursuant to the statute’s
‘exhaustion’ requirement until the defendant completed the BOP’s
administrative appellate process or she waived her right to further appeal her
warden’s denial of her administrative compassionate release request. United
States v. Wallace, No. 1:16-cr-00744-DKW-9, ECF 788 (09/30/2020). Section
3582(c)(1)(A), however, allows for judicial review of a defendant’s
compassionate release motion after either the defendant exhausts administrative
review “or” 30 days lapse from the time the warden received the defendant’s
administrative release request, “whichever is earlier.” 18 U.S.C.
§3582(c)(1)(A). In the Wallace case, there is no doubt that 30 days lapsed from
the warden’s receipt of Wallace’s administrative compassionate release request,
given that the warden denied it on July 31, 2020. Wallace, ECF 783 at 2 n. 1
(09/25/2020); id., ECF 783-1 (09/25/2020). The district court’s abeyance order
thus dispensed with the statute’s unambiguous mandate to apply the earlier of
the two avenues that allow for judicial review of Wallace’s motion. Thirty days
having elapsed from July 31, 2020, the statute’s administrative appeal
exhaustion alternative plainly had no role left to play in her case at the time the
court issued its abeyance ruling.
3
       There is an intra-district split—and intra-circuit and national inter-district
splits—on whether, and how much, deference the guideline commands under
the post-FSA version of the statute. See United States v. Cisneros, 2020 WL
3065103, at *2 (D. Haw. (SOM)) (June 9, 2020) (slip copy) (“[t]his court
recognizes that it possesses considerable discretion in determining whether a
particular defendant has established the existence of extraordinary and


                                         10
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 18 of 55




v. Rodrigues, 2020 WL 5351029 (D. Haw. (DKW)) (Sept. 4, 2020) (slip copy)

(denying); United States v. Tufele, 2020 WL 5223775 (D. Haw. (DKW)) (Sept.

1, 2020) (slip copy) (denying) (appeal docketed CA9 20-10282); United States

v. Lyman, 2020 WL 4318754 (D. Haw. (DKW)) (July 27, 2020) (slip copy)

(denying) (also ER-1–ER-6); United States v. Aruda, ___ F.Supp.3d ___, 2020

WL 4043496 (D. Haw. 2020) (DKW) (denying) (appeal docketed CA9 20-

10245); Kealoha (denying); United States v. Contreras, 2020 WL 3642247 (D.

Haw. (DKW)) (July 6, 2020) (slip copy) (denying); United States v.

Kazanowski, 2020 WL 3578310 (D. Haw. (DKW)) (July 1, 2020) (slip copy)

(denying); United States v. Lum, 2020 WL 3472908 (D. Haw. (DKW)) (June



compelling reasons that justify early release” (collecting SOM cases so ruling));
United States v. Hernandez, 2020 WL 3453839, at *2–*4 (D. Haw. (JMS))
(June 24, 2020) (slip copy) (same; collecting cases on both sides of the split).
Judge Watson is also an outlier in not having granted compassionate release
during the pandemic. Compare the DKW cases string cited above with, e.g.,
United States v. Garcia, 2020 WL 3547933 (D. Haw. (HG)) (June 30, 2020)
(slip copy) (granting); United States v. Baclaan, 2020 WL 2820199 (D. Haw.
(HG)) (May 29, 2020) (slip copy) (granting); United States v. Malufau, ___
F.Supp.3d ___, 2020 WL 4218038 (D. Haw. 2020) (LEK) (granting); United
States v. Ben-Yhwh, 453 F.Supp.3d 1324 (D. Haw. 2020) (LEK) (granting);
United States v. Hernandez, 2020 WL 5521035 (D. Haw. (SOM)) (Sept. 14,
2020) (slip copy) (granting); United States v. Galu, 2020 WL 5521034 (D.
Haw. (SOM)) (Sept. 14, 2020) (slip copy) (granting); United States v. Seals,
2020 WL 3578289 (D. Haw. (SOM)) (July 1, 2020) (slip copy) (granting);
United States v. Kamaka, 2020 WL 2820139 (D. Haw. (SOM)) (May 29, 2020)
(slip copy) (granting); United States v. Caminos, ___ F.Supp.3d ___, 2020 WL
4199704 (D. Haw. 2020) (JMS) (granting).


                                       11
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 19 of 55




25, 2020) (slip copy) (denying); United States v. Wong, 2020 WL 3415870 (D.

Haw. (DKW)) (June 22, 2020) (slip copy) (denying); United States v. Iwai,

2020 WL 3258405 (D. Haw. (DKW)) (June 15, 2020) (slip copy) (denying).

      In Lyman’s case, the district court ruled that there was no extraordinary

and compelling reason to grant compassionate release. ER-4–ER-6. The district

court reasoned that Lyman’s medical condition, which the CDC recognized put

him at high risk for hospitalization and death from Covid-19, had not

“substantially diminished his ability to provide self-care in prison” because he

had recovered from infection once. ER-4–ER-5. The district court also noted—

but did not really explain why it was noting (other than to drop a footnote

saying that the application note’s “other reasons” criterion was of “no use to

Lyman,” presumably because the BOP hadn’t determined there were any)—that

Lompoc FCI had no cases of infection on July 24, 2020, three days before the

court filed its written order. ER-5. The district court also rejected Lyman’s

reliance on the lower FSA statutory minimum, because the application note’s

criteria all related “to health” and the lower mandatory minimum didn’t relate

to health, and because the FSA didn’t make the change retroactive. ER-5–ER-6.

      The district court did not reach consideration of §3553(a)’s factors. ER-

4–ER-6. Nor did the district court make any determination about

dangerousness. ER-4–ER-6.


                                        12
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 20 of 55




                              Argument Summary

      Reversal and remand are required here because the district court

misunderstood the scope of its discretion to grant a defendant’s ‘compassionate

release’ motion for a sentence reduction under 18 U.S.C. §3582(c)(1)(A). The

prior version of §3582(c)(1)(A) only allowed the Director of the Bureau of

Prisons to move for a ‘compassionate release’ sentencing reduction. The

guideline policy statement and its commentary (USSG §1B1.13) promulgated

under that older version of the statute state, naturally enough, that the guideline

and commentary apply only to BOP motions. Congress amended the statute in

2018 to allow for defendants to move for a ‘compassionate release’ sentencing

reduction too, so the current version of the statute allows for motions by either

the BOP or the defendant. The Sentencing Commission, however, has not

amended §1B1.13 and, thus, it still states that it only applies “[u]pon motion of

the Director of the Bureau of Prisons,” a limitation its commentary reiterates.

Nor has the Sentencing Commission adopted a new guideline policy statement

that applies “upon motion of the defendant.” Even though §1B1.13 states it

doesn’t apply to Lyman’s motion, the district court nonetheless deferred to and

applied the guideline policy statement and its commentary to restrict the court’s

discretion to decide whether Lyman’s case presented extraordinary and

compelling reasons to reduce Lyman’s sentence.


                                        13
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 21 of 55




      The district court also restricted its discretion in another way, by

categorically determining that the FSA’s reduction of 21 U.S.C. §841’s

mandatory minimums was entirely irrelevant under §3582(c)(1)(A), because the

mandatory minimum reduction did not retroactively apply to Lyman and did not

relate to the health concerns that animated the guideline’s commentary. Section

3582(c)(1)(A), however, directs courts to consider 18 U.S.C. §3553(a)’s

sentencing factors. The fact that Congress reduced the mandatory minimum

applicable to Lyman’s offense conduct and criminal history speaks to several of

§3553(a)’s factors, even if it does not speak directly to Lyman’s health.

      Reversal and remand are also required here for another reason, because

the district court erred in assessing whether Lyman’s physical and medical

condition was extraordinary and compelling under §3582(c)(1)(A) and, even if

applicable, USSG §1B1.13. The district court winnowed Lyman’s physical and

medical condition through Application Note 1(A)(ii) and concluded that his

condition did not count as extraordinary and compelling because it did not

substantially diminish his ability to provide self-care within Lompoc FCI. But

the district court quarantined the commentary’s self-care standard from the

world-wide Covid-19 pandemic and, thus, appears to have set the baseline of

self-care at being able to complete ordinary daily tasks independently (such as




                                        14
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 22 of 55




eating and bathing), without including the ability to self-guard against infection,

hospitalization, and death from Covid-19.

      The district court’s determination on this point rested, moreover, on its

view that Lyman’s prior infection and recovery from Covid-19, and the fact that

Lompoc FCI did not have any current cases of inmate infection on a particular

day (July 24, 2020, three days before the court issued its order denying

Lyman’s motion), demonstrated that he wasn’t at that much risk from Covid-19.

Recovery, however, is no indication of immunity, a point not only recently

conceded by the BOP, but which the BOP’s own documentation of reinfection

deaths grimly establishes. Nor does a frozen day in time evince much of

anything about whether the BOP is able to prevent Covid-19 from again

running rampant in Lompoc FCI.

                                   Argument

      1.     Standards of Review

      This Court reviews questions of law—such as whether a guideline is an

“applicable policy statement” to which §3582(c)(1)(A) refers, whether a

guideline triggers Stinson deference, and whether something is relevant—de

novo. United States v. Washington, 971 F.3d 856, 861 (CA9 2020) (statutory

interpretation); United States v. Wei Lin, 841 F.3d 823, 825 (CA9 2016)

(guideline interpretation); United States v. McEnry, 659 F.3d 893, 897 (CA9


                                        15
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 23 of 55




2011) (which guideline applies); United States v. Zuniga, 66 F.3d 225, 227

(CA9 1995) (whether guideline applies); United States v. Lillard, 354 F.3d 850,

853 (CA9 2003) (relevancy). The district court’s application of governing

law—such as the right guideline or a correct interpretation of a controlling

statute—is reviewed for an abuse of discretion. United States v. Perez, 962 F.3d

420, 447 (CA9 2020).

      2.     Stinson deference

      Stinson deference applies to guideline policy statements and

commentary. Stinson v. United States, 508 U.S. 36, 38 (1993); United States v.

Cuevas-Lopez, 934 F.3d 1056, 1061 (CA9 2019). A district court, accordingly,

should generally defer to a guideline’s commentary (its application notes), so

long as the commentary doesn’t violate the Constitution or a statute and isn’t

inconsistent with, or a plainly erroneous interpretation or explanation of, its

guideline. Stinson, 508 U.S. at 38; Cuevas-Lopez, 934 F.3d at 1061. By the

same token, deference is also due to a guideline policy statement, but again,

only so long as the policy statement doesn’t violate the Constitution or a statute

and isn’t inconsistent with, or a plainly erroneous interpretation or explanation

of, the particular statute that the policy statement interprets, explains, or

implements. Stinson, 508 U.S. at 38; Cuevas-Lopez, 934 F.3d at 1061.




                                         16
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 24 of 55




      Before the First Step Act went into effect on December 21, 2018, section

3582(c)(1)(A) allowed for a court to grant the BOP’s motion, and only a BOP

motion, to reduce a prisoner’s sentence on two grounds. Either because

extraordinary and compelling reasons warranted reducing the defendant’s

sentence. 18 U.S.C. §3582(c)(1)(A)(i) (2002). Or because the defendant had

lived past 70 and served at least 30 years’ imprisonment, and the BOP had

determined (under the standards set by the Bail Reform Act) that the defendant

wasn’t a danger to anyone or the community. 18 U.S.C. §3582(c)(1)(A)(ii)

(2002). The statute directed the court to consider the general sentencing factors

set forth in 18 U.S.C. §3553(a), to the extent any applied. 18 U.S.C.

§3582(c)(1)(A) (2002). And the statute required reduction to be consistent with

any applicable guideline policy statement. 18 U.S.C. §3582(c)(1)(A) (2002).

The sentencing reduction that §3582(c)(1)(A) authorizes is often referred to as

‘compassionate release,’ and the statute allowed for compassionate release only

if the BOP moved for it on the defendant’s behalf.

      The guideline policy statement that was applicable to compassionate

release under the pre-FSA version of §3582(c)(1)(A) was USSG §1B1.13, last

promulgated on November 1, 2018, a month before the FSA went into effect.

Section 1B1.13 leads with the limitation that it applies only “[u]pon motion of

the Director of the Bureau of Prisons under 18 U.S.C. §3582(c)(1)(A)” and, like


                                       17
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 25 of 55




the statute, requires consideration of any applicable §3553(a) factors.

Subsection (1)(A) of the policy statement mimics the statute’s extraordinary

and compelling reasons criterion. Subsection (1)(B) of the policy statement

repeats the statute’s alternative age and service criterion, but not the statute’s

lack-of-danger requirement. Subsection (2) makes lack of danger a requirement

in all cases (the statute limited it to only the age and service criterion) and

makes the court the decision-maker on lack of danger (the statute had the BOP

determining lack of danger). And meta subsection (3) requires reduction to be

consistent with “this policy statement.”

      Three of §1B1.13’s application notes are pertinent, two of which are

more quickly glossed than the third. Ensuring the consistency requirement

requires consistency, Application Note 5 states that the consistency requirement

is met when the BOP’s motion invokes the grounds set forth in subsections (1)

or (2) of the policy statement. Application Note 4 limits the district court’s

discretion to grant compassionate release “only upon motion by” the BOP. But,

at the same time, Application Note 4 also encourages the BOP to file the motion

in any case involving extraordinary and compelling reasons and recognizes that

the court is in “a unique position” to determine whether to grant the motion,

after holistic consideration of the circumstances that §3582(c)(1)(A), §3553(a),

and the policy statement and its commentary direct the court to consider.


                                         18
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 26 of 55




Application Note 1’s delineation of what counts as “extraordinary and

compelling reasons” to grant compassionate release takes a tad longer to

unpack.

      Application Note 1 starts by emphasizing that subsection (2)’s lack-of-

danger requirement must be met in extraordinary and compelling reasons

(ECR) cases just as much as it must in age and service (A&S) cases.

Application Note 1 then defines four “circumstances” that count as

extraordinary and compelling: (A) medical condition; (B) age; (C) family; and

(D) “other reasons.” Subdivision (D), however, isn’t the catchall its branding

suggests, because it limits the other reasons that count to only those the BOP

has said (on a case-by-case basis) count: “As determined by the Director of the

Bureau of Prisons, there exists in the defendant’s case an extraordinary and

compelling reason other than, or in combination with, the reasons described in

subdivisions (A) through (C).” To counsel’s knowledge (and the government is

free to demonstrate otherwise, of course), the BOP has rarely, if ever, made the

other-reasons determination that subdivision (D) envisions and, thus, the

provision isn’t much of a catchall in practice, as it has caught few, if any, cases




                                        19
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 27 of 55




that don’t already fall within the application note’s other provisions. 4

Subdivision (C) ranks family circumstances as extraordinary and compelling

when the defendant is the only one left to care for any children, spouse, or

“registered partner” he may have. Subdivision (B)’s age criterion deems age

extraordinary and compelling only if the defendant is at least 65, is ailing due to

age, and has served the less of at least 10 years or 75% of his or her

imprisonment term.

      Subdivision (A) of Application Note 1, the focus of most pandemic-

related compassionate release proceedings, counts a defendant’s physical and

medical condition as extraordinary and compelling only in four, narrowly

defined, situations. Terminal illness counts. USSG §1B1.13, comment. (n.

1(A)(i)). While the other three—a serious physical or medical condition (n.



4
       The BOP’s use of compassionate release for any of the reasons allowed
by statute or guideline has been grudging to say the least. Two respected
watchdog groups report that the BOP’s annual average, over the course of some
two decades, was less than two dozen motions. Human Rights Watch &
Families Against Mandatory Minimums, The Answer Is No: Too Little
Compassionate Release in US Federal Prisons, at 34 (Nov. 2012), available at
www.hrw.org/sites/default/files/reports/us1112ForUploadSm.pdf (last visited
Sept. 30, 2020) (quoting the Government Accountability Office’s conclusion
that the BOP filed compassionate release motions “infrequently” and reporting
that the BOP made “only 492 motions for compassionate release” for the 21-
year period between 1992 and 2012, which amounts to “an annual average of
about two dozen”).



                                         20
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 28 of 55




1(A)(ii)(I)), a serious functional or cognitive impairment (n. 1(A)(ii)(II)), or

deterioration of physical or mental health because of aging (n. 1(A)(ii)(III))—

count only if they “substantially diminish[] the ability of the defendant to

provide self-care within the environment of a correctional facility,” and more,

only if the defendant isn’t “expected to recover” from the condition,

impairment, or deterioration invoked as a reason for compassionate release.

USSG §1B1.13, comment. (n. 1(A)(ii)).

      The FSA went into effect on December 21, 2018. A provision of the FSA

amended §3582(c)(1)(A) to allow for defendants to move for compassionate

release, instead of having to rely on the BOP doing so on their behalf. To

subsection (c)(1)(A), the FSA added what’s italicized:

      (A) the court, upon motion of the Director of the Bureau of
      Prisons, or upon motion of the defendant after the defendant has
      fully exhausted all administrative rights to appeal a failure of the
      Bureau of Prisons to bring a motion on the defendant’s behalf or
      the lapse of 30 days from the receipt of such a request by the
      warden of the defendant’s facility, which is earlier, may reduce the
      term of imprisonment (and may impose a term of probation or
      supervised release with or without conditions that does not exceed
      the unserved portion of the original term of imprisonment), after
      considering the factors set forth in section 3553(a) to the extent
      that they are applicable, if it finds [ECR, or A&S, and guidelines
      consistency].

18 U.S.C. §3582(c)(1)(A) (2018). The FSA did not change the wording of the

rest of the statute’s provisions. The post-FSA version of §3582(c)(1)(A),



                                        21
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 29 of 55




accordingly, still directs the court to consider §3553(a)’s applicable factors (if

any), still requires the court to find the ECR or the A&S criterion are met, still

ties a BOP lack-of-danger determination only to the A&S criterion, and still

mandates consistency with any “applicable policy statements” the Sentencing

Commission may promulgate. USSG §3582(c)(1)(A) (2018). The Commission,

however, hasn’t amended §1B1.13 since the enactment of the FSA. Nor has the

Commission promulgated any additional policy statement applicable to

§3582(c)(1)(A) proceedings commenced on a defendant’s motion, rather than

on the BOP’s motion.

             a.     The cleanest way to deal with Stinson deference is

startlingly simple. When a §3582(c)(1)(A) proceeding arises upon a defendant’s

motion, rather than upon a BOP motion, there is no applicable policy statement

to which to defer under Stinson or with which to maintain consistency under

§3582(c)(1)(A). By its own terms, the current version of §1B1.13 limits its

applicability to cases in which the BOP has filed the §3582(c)(1)(A) motion.

Section 1B1.13 simply isn’t an “applicable policy statement” when the

defendant moves for compassionate release.

      Section 1B1.13’s first words are: “Upon motion of the Director of the

Bureau of Prisons under 18 U.S.C. §3582(c)(1)(A), the court may ….” If that

opening salvo doesn’t suffice to limit §1B1.13’s applicability to only cases


                                        22
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 30 of 55




arising upon a BOP motion, Application Note 4 emphases the point: “A

reduction under this policy statement may be granted only upon motion by the

Director of the Bureau of Prisons pursuant to 18 U.S.C. §3582(c)(1)(A).” So

does Application Note 5, albeit tacitly: “Any reduction made pursuant to a

motion by the Director of the Bureau of Prisons for the reasons set forth in

subdivisions (1) and (2) is consistent with this policy statement.” Those three

provisions render §1B1.13 the “applicable policy statement” only in cases

arising upon the BOP’s §3582(c)(1)(A) motion. Section 1B1.13, accordingly, is

not a policy statement that applies, under the post-FSA version of

§3582(c)(1)(A), when the court’s consideration of compassionate release arises

upon a defendant’s motion rather than upon a motion brought by the BOP.

From its opening words to its final application note, section 1B1.13 and its

commentary are applicable only when the motion under review has been filed

by the BOP.

      The Commission hasn’t promulgated a policy statement applicable to a

defendant’s motion for §3582(c)(1)(A) compassionate release. When a

§3582(c)(1)(A) proceeding commences upon a defendant’s motion, rather than

“upon motion by the Director of the Bureau of Prisons,” there is thus no

applicable policy statement and nothing to defer to under Stinson. The only

thing governing the court’s review, at least until the Commission deigns to


                                       23
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 31 of 55




enact a policy statement that’s applicable “upon motion of the defendant under

18 U.S.C. §3582(c)(1)(A),” is the statute itself. And all the statute requires is

that there be “extraordinary and compelling reasons” that warrant reducing the

defendant’s sentence (or, alternatively, that the defendant meet the A&S

criterion, but that’s not in play here) and doing so accords with §3553(a)’s

general sentencing factors, to the extent any apply. 18 U.S.C. §3582(c)(1)(A).

This Court, accordingly, should join the Second Circuit in so holding. United

States v. Zullo, 5 ___ F.3d ___, 2020 WL 5739712, at *6 (CA2 2020) (“we read

the Guideline as surviving, but now applying only to those motions that the

BOP has made”).

      Because there is no applicable policy statement to which to defer when

the defendant moves for §3582(c)(1)(A) relief, what counts as “extraordinary

and compelling” is presently an exercise of judicial discretion, fettered only by

§3582(c)(1)(A)’s directive to consider §3553(a)’s sentencing factors to the

extent they have something to say.



5
       Westlaw’s defaults presently have the service reporting this case under
the misnomer United States v. Brooker. Brooker and numerous others were
defendants in the case, but Zullo was the only defendant-appellant. The Second
Circuit’s web site lists the case under the name used here, as United States v.
Zullo (docketed as CA2 No. 19-3218-cr), see www.ca2.uscourts.gov (Decisions
tab, “Zullo” basic search) (last visited Sept. 30, 2020).



                                         24
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 32 of 55




             b.     Deeming §1B1.13 an applicable policy statement when

relief is sought upon a defendant’s motion rather than upon a BOP motion

requires taking a piecemeal approach to Stinson. In order to invoke Stinson

deference to, say, Application Note 1’s physical and medical condition

criterion, you have to first turn off Stinson deference to the guideline’s and its

commentary’s various provisions allowing for relief only upon a BOP motion.

Section 1B1.13’s opening clause must be judicially elided. The whole of

Application Note 4 must be judicially elided. And “pursuant to a motion by the

Director of Bureau of Prisons” must be elided from Application Note 5. Elision

is not deference.

      Nor can the elision of these provisions of the guideline and its

commentary be characterized as redlining the bits that are inconsistent with, or

a plainly erroneous reading of, the post-FSA version of §3582(c)(1)(A). The

post-FSA statute still allows the BOP to bring a compassionate release motion.

There’s nothing wrong with a guideline policy statement that implements only

part of a statute. And, too, section 3582(c)(1)(A)’s directive to remain faithful

to “applicable policy statements” (plural), rather than ‘an applicable policy

statement’ (singular), contemplates just such a hodgepodge approach. Section

1B1.13’s opening clause, accordingly, isn’t inconsistent with the statute, nor

does it plainly misinterpret the statute. Invoking Stinson to elide clauses of the


                                         25
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 33 of 55




guideline and its commentary—that otherwise would limit them to cases

brought upon a BOP motion—morphs Stinson deference into something that, in

lieu of commanding deference to what the guideline and its commentary say,

condones defying what they say.

             c.    But even if we set aside the difference between deference

and defiance, at least one provision of §1B1.13 is inconsistent with and a

plainly erroneous construction of §3582(c)(1)(A). The guideline makes lack of

dangerousness a free-standing requirement that the court must find. USSG

§1B1.13(2). The statute does not do that. Instead, the statute attaches lack of

dangerousness only to the statute’s A&S criterion, not its ECR criterion. 18

U.S.C. §3582(c)(1)(A). The statute also makes the BOP the decision-maker on

dangerousness (under the A&S criterion), not the court.

      Congress could readily have done what the guideline does. That

Congress attached a lack-of-dangerousness requirement onto the A&S criterion

and, too, specified a decision-maker on dangerousness demonstrate Congress

knew how. But Congress chose not to impose a separate lack-of-danger

requirement in ECR cases, much less did it require the court to make such a

finding (and even less, did it place the burden on the defendant, as courts—the

district court here among them—seem to have done in their rush to conform the

guideline to the post-FSA version of §3582(c)(1)(A)). By making a choice that


                                        26
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 34 of 55




directly conflicts with the choice Congress clearly made, the guideline and its

commentary’s dangerousness provisions are inconsistent with, and plainly

erroneous constructions of, the post-FSA version of section 3582(c)(1)(A).

      Section §1B1.13(2), accordingly, is not entitled to Stinson deference and

should not be invoked to place a burden on the defendant to prove that he is not

a danger to the safety of others or the community in ECR cases.

             d.    Another provision that Stinson deference legitimately

touches—assuming still that deference allows for defiance—is Application

Note 1’s “other reasons” criterion. The note’s opening clause restricts the “other

reasons” that count to those the BOP has said count in the defendant’s case.

USSG §1B1.13, comment. (n. 1(D)). That clause is inconsistent with, and a

plainly erroneous reading of, the post-FSA version of §3582(c)(1)(A), because

it assigns assessment of what counts as extraordinary and compelling to the

BOP, whereas the statute assigns it to courts. The opening clause of Application

Note 1(D) is also inconsistent with the post-FSA statute for another reason.

      The FSA adopted an exhaustion requirement when a defendant moves for

compassionate release, which can be met in one of two ways. The first way

calls on the defendant to have “exhausted all administrative remedies to appeal

a failure of the [BOP] to bring a motion on the defendant’s behalf.” 18 U.S.C.

§3582(c)(1)(A) (2018). The other way calls on the defendant to do nothing


                                       27
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 35 of 55




more than wait for 30 days to “lapse … from the receipt of” her warden’s

receipt of her administrative compassionate release request. 18 U.S.C.

§3582(c)(1)(A) (2018). The statute thus allows a court to grant a defendant

compassionate release even if the BOP has stood mute in response to a

defendant’s release request. Application Note 1(D)’s imposition of BOP

oversight on what counts as other reasons to grant relief is, thus, inconsistent

with the statute’s contemplation that relief can be judicially granted, on a

defendant’s motion, when the BOP has said nothing as to that defendant’s case.

      Either way, there shouldn’t be any Stinson deference to the opening

clause of Application Note 1(D) and, thus, the determination of what other

reasons count should be a judicial, rather than remain an administrative,

determination. Construing Application Note 1(D) to allow for a judge to decide

what “other reasons” are extraordinary and compelling is, however, simply a

convoluted way to get to much the same place we get to by simply recognizing

§1B1.13 isn’t an applicable policy statement, when the defendant moves for

compassionate release, in the first place.

             e.     There is an intra-district split on whether, and the extent to

which, Stinson deference applies to §1B1.13 and its commentary after the

FSA’s amendments to §3582(c)(1)(A). In this matter, the district court deferred

under Stinson to Application Note 1’s construction of what counts as


                                        28
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 36 of 55




extraordinary and compelling under the statute and guideline. ER-3–ER-6;

Rodrigues, 2020 WL 5351029, at *3; Kealoha, 2020 WL 3735773, at *5–*6.

The district court’s rationale, however, does not delve into the language of the

statute, the guideline, and its application notes. Instead, the court’s rationale

turns solely on the notion that “the FSA only amended the procedural

requirements under Section 3582(c)(1)” and, thus, such a non-substantive

change in the statute does not turn off Stinson deference to the policy statement

and commentary promulgated under the pre-amended version of the statute.

Kealoha, 2020 WL 3735773, at *5–*6. The district court, that is, thinks that

procedural inconsistencies do not turn off Stinson deference and only a

substantive inconsistency between a guideline and a statute will. Drawing such

a procedural-substantive line is not something Lyman’s counsel has seen

Stinson cases do, nor did the district court cite any that have.

      Two other judges in the District of Hawaii have ruled to the contrary.

Senior District Court Judge Mollway thinks that, by substituting her own

discretion for the discretion the policy statement and its commentary vest in the

BOP, she is conducting post-FSA §3582(c)(1)(A) review consistently with the

policy statement and its commentary. Cisneros, 2020 WL 3065103, at *2

(“[r]ecognizing that courts now possess wide discretion in compassionate

release cases is consistent with the policy statement that accorded the Director


                                         29
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 37 of 55




of the Bureau of Prisons the same discretion before the passage of the First Step

Act”). Chief District Court Judge Seabright has similarly ruled that courts have

discretion to determine what “other” reasons may suffice to meet the statute’s

and guideline’s ECR criterion. Hernandez, 2020 WL 3453839, at * 4. And

while his rationale includes some broad language that suggests some agreement

with the notion that the guideline as a whole “conflicts with the amended

statute” to the extent the guideline applies to only BOP-filed motions, id. at *3,

he nonetheless reviews defendant-filed §3582(c)(1)(A) motions underneath the

guideline’s provisions and commentary, albeit replacing, as Judge Mollway

does, BOP oversight with judicial discretion, id. at *5–*6.

       The split on the issue of whether and the extent to which Stinson

deference attaches to §1B1.13 under the post-FSA §3582(c)(1)(A) is not limited

to this district. District courts within this circuit are split on the issue, as they

are nationally. See, e.g., United States v. Schweder, 2020 WL 5257598, at *3

(E.D. Cal.) (Sept. 3, 2020) (slip copy) (describing split and collecting cases). In

this circuit, courts have said the majority favors applying the guideline and its

commentary but in accord with judicial discretion rather than affording any

discretion to the BOP. Id. But, as explained above, that does not seem to really

be what Stinson contemplates courts doing. The correct path, rather, is to say

that §1B1.13 is an applicable policy statement—to which courts must defer


                                           30
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 38 of 55




under §3582(c)(1)(A) and Stinson—when the BOP has filed a §3582(c)(1)(A)

motion, but not when review under §3582(c)(1)(A) arises upon a defendant’s

motion. Zullo, 2020 WL 5739712, at *6. When §3582(c)(1)(A) relief is

requested upon motion of a defendant, there is no applicable policy statement.

             f.     This Court, accordingly, should remand this matter for a re-

do because the district court did not correctly understand the scope of its

discretion under §3582(c)(1)(A) to grant Lyman’s motion. United States v.

Khoury, 62 F.3d 1138, 1141 (CA9 1995) (if a district court mistakenly believed

it lacked discretion it legally had, remedy is “a remand to exercise its

discretion” (citing United States v. Morales, 972 F.2d 1007, 1011 (CA9

1992))); Zullo, 2020 WL 5739712, at *9 (remanding for the district court “to

exercise the discretion that the First Step Act gives to it”).

      3.     Physical and medical condition

      The district court’s analysis of Lyman’s physical and medical condition

also gives rise to reversible error, be it circumscribed by Application Note

1(A)’s parameters or not. The entirety (shorn of record citations) of the district

court’s reasoning on why Lyman’s physical and medical condition wasn’t

extraordinary or compelling consists of this:

      [A]s Lyman’s medical records reflect, he contracted the
      coronavirus in May 2020. However, as the same records further
      reflect, Lyman was screened for coronavirus symptoms for almost


                                         31
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 39 of 55




      two weeks after first being diagnosed and, in every one of those
      screenings, he denied any symptoms, such as a cough, as a result
      of the virus. Further, the medical record also state that Lyman’s
      case of coronavirus was ‘resolved’ approximately two weeks after
      his diagnosis. In this light, although Lyman asserts that he has
      certain medical conditions that are ‘risk factors’ for the
      coronavirus, it appears that the virus has not ‘substantially
      diminished’ his ability to provide self-care in prison. See U.S.S.G.
      §1B1.13, app. note (1)(A)(ii). In addition, the facility in which
      Lyman is incarcerated—Lompoc FCI—while once having a high
      number of confirmed coronavirus cases, now registers no such
      cases amongst the inmate population. See https://www.bop.gov/
      coronavirus (last visited July 24, 2020).[fn]

ER-4–ER-5 (brackets and record citations omitted; footnote asserting

Application Note 1(D)’s other reasons criterion is of “no use” to Lyman

omitted). There are a number of problems with the district court’s rationale for

determining that Lyman’s physical and medical condition, which placed him at

higher risk of hospitalization or death from Covid-19, did not provide an

extraordinary and compelling reason to grant him compassionate release.

             a.    For one thing, the district court appears to have simply

misunderstood what Application Note 1(A)’s self-care requirement calls for

when dropped into circumstances that include a world-wide pandemic. The

ability to provide self-care amidst the Covid-19 pandemic includes being able to




                                       32
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 40 of 55




take precautions—at a minimum, those the CDC has established 6—against

infection. It does not mean simply being able to do mundane daily activities,

like eating and bathing. There can be no dispute that Lyman does not have the

ability to protect himself from infection at Lompoc FCI. The fact that he

became infected once attests both that he is not able to guard against infection

and that the BOP is unable to prevent him from becoming infected. Lyman’s

physical and medical condition (most notably, his severe obesity and chronic

kidney disease7) further diminish his ability to protect himself from infection,

hospitalization, and death from Covid-19 infection.



6
       Among CDC recommendations that Lyman has no ability to exert self-
control over while in prison, but could if compassionately released, are avoiding
those who are sick, social distancing, frequent disinfection of his environment,
and wearing a clean mask. How to Protect Yourself & Others, CDC (Sept. 11,
2020), www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.
html (last visited Sept. 24, 2020).
7
      The CDC recognizes that obesity (a BMI of at least 30) and chronic
kidney disease place Lyman at increased risk of hospitalization, if not death,
from Covid-19, and that his asthma might further contribute to placing him at
increased risk. People with Certain Medical Conditions, CDC (Sept. 11, 2020),
www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html (last visited Sept. 24, 2020). The CDC does not
presently deem high cholesterol a risk factor, but medical research suggests that
high cholesterol may well be the reason other things increase the risk of
hospitalization and death from Covid-19. Liji Thomas, MD, Does cholesterol
play a role in Covid-19?, News Medical Life Sciences (May 12, 2020),
www.news-medical.net/news/20200512/Does-cholesterol-play-a-role-in-
COVID-19.aspx (last visited Sept. 30, 2020) (reporting a “new study” indicates


                                        33
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 41 of 55




      The government may counter that shifting the baseline for self-care to

include the ability to guard against infection makes every inmate’s case

extraordinary and compelling and thus necessitates releasing them all. That is

not so for at least two reasons. One, because a defendant’s physical and medical

condition has a role to play in making a defendant’s circumstances

extraordinary and compelling. Courts readily agree that the common risk

Covid-19 presents to all inmates does not alone suffice to constitute something

extraordinary and compelling. But when a defendant’s physical and medical

condition dramatically increase the risk that the defendant will become

hospitalized or die from the virus, the circumstances do become extraordinary

and compelling. Two, because the statute and guideline both require case-by-

case consideration of §3553(a)’s sentencing factors, which stand as a bulwark

against any over-release of inmates.




that “the striking increased mortality in Covid-19 patients who are either old or
also have high blood pressure, diabetes, [or] cardiovascular disease is due to
high tissue cholesterol levels”). The CDC does recognize, moreover, that
Lyman’s age (41) makes him three times as likely to be hospitalized from
infection as someone who is 18–29 years old, and ten times more likely to die
from infection. Covid-19 Hospitalization and Death by Age, CDC (Aug. 18,
2020), www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-
discovery/hospitalization-death-by-age.html (last visited Sept. 24, 2020).



                                       34
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 42 of 55




             b.     The district court took the wrong thing away from Lyman’s

recovery from an asymptomatic infection of Covid-19. At the time the district

court ruled on Lyman’s motion, the immunity response to Covid-19 was

unknown. Presently, the CDC acknowledges that “science does not imply a

person is immune to reinfection” from Covid-19. Updated Isolation Guidance

does not Imply Immunity to Covid-19, CDC (Aug. 14, 2020), www.cdc.gov/

media/releases/2020/s0814-updated-isolation-guidance.html (last visited

Sept. 24, 2020). The CDC also maintains that the immunity response to

infection still remains unclear. Clinical Questions about Covid-19: Questions

and Answers: Transmission: Can people who recover from Covid-19 be re-

infected with SARS-CoV-2, CDC (Aug. 4, 2020),

www.cdc.gov/coronavirus/2019-ncov/hcp/

faq.html#Transmission (last visited Sept. 24, 2020).

      But verified accounts of reinfection, evincing not only that reinfection

occurs but can take a drastically different course than prior infection, are

beginning to be compiled. William A. Haseltine, What Covid-19 Reinfection

Means for Vaccines, Scientific American (Sept. 23, 2020) (asserting “[w]e now

know repeat infections are possible”), www.scientificamerican.com/article/

what-covid-19-reinfection-means-for-vaccines/ (last visited Sept. 24, 2020);

Heidi Ledford, Coronavirus reinfections: three questions scientists are asking,


                                        35
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 43 of 55




Nature (Sept. 4, 2020), www.nature.com/articles/d41586-020-02506-y (last

visited Sept. 24, 2020); Nancy Lapid, Covid-19 reinfection detected in U.S.

patient; saliva tests endorsed, Reuters (Aug. 28, 2020), www.reuters.com/

article/us-health-coronavirus-science-idUSKBN25O2UP?taid=5f497d444b

992e000118c1b1&utm_campaign=trueAnthem:+Trending+Content&utm_medi

um=trueAnthem&utm_source=twitter (last visited Sept. 24, 2020); WebMD,

Coronavirus Immunity and Reinfection (reporting loss of antibodies within a

few months, more than 160 reinfections in South Korea, and a 5%–10%

reinfection rate in China), www.webmd.com/lung/coronavirus-immunity-

reinfection#1 (last visited Sept. 24, 2020).

      More compellingly, the BOP’s own records belie the district court’s

blithe dismissal of the idea that reinfection can occur with dire results. Adrian

Solarzano, for one, died from reinfection after the BOP deemed him recovered

from a prior infection. United States v. Yellin, 2020 WL 3488738, at *3 (S.D.

Cal.) (June 26, 2020) (slip copy); Inmate Death at the FCI Terminal Island,

BOP Press Release (May 27, 2020), www.bop.gov/resources/news/pdfs/

20200527_press_release_trm.pdf (last visited Sept. 30, 2020). The BOP also

deemed Marie Neba recovered before she died. Inmate Death at FMC Carswell,

BOP Press Release (Aug. 26, 2020), www.bop.gov/resources/news/pdfs/




                                        36
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 44 of 55




20200826_press_release_crw.pdf (last visited Sept. 30, 2020). The BOP’s press

releases as to others are less candid and don’t come right out and say that the

inmate’s death followed on the heels of the BOP deeming the inmate

“recovered” from Covid-19 infection, but it is clear enough that is what

happened in at least four other cases.

      Barry Johnson died on September 23, 2020, after asymptomatic infection,

release from a BOP 11-day quarantine, and being twice cleared by BOP

medical staff and once by a local hospital. Inmate Death at FCI Edgefield, BOP

Press Release (Sept. 25, 2020), www.bop.gov/resources/news/

pdfs/220200926_press_release_johnson.pdf (last visited Sept. 30, 2020).

Thomas Krebs, who tested negative after twice testing positive, nonetheless

died too. Inmate Death at FMC Lexington, BOP Press Release (Sept. 25. 2020),

www.bop.gov/resources/news/pdfs/20200925_press_release_lex.pdf (last

visited Sept. 30, 2020). Ricky Lynn Miller tested positive on June 1st, negative

on July 6th, was evaluated by BOP medical staff on September 9th (because he

had trouble breathing and one or both of his legs were swollen) and sent to a

local hospital for treatment, where he again tested positive on September 16th,

and then died on September 17th. Inmate Death at FCI Butner (Low), BOP

Press Release (Sept. 17, 2020), www.bop.gov/resources/news/pdfs/20200917




                                         37
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 45 of 55




_press_release_bux.pdf (last visited Sept. 30, 2020). And Gerald Porter died

after negative tests indicated he had recovered from infection. Inmate Death at

FMC Lexington, BOP Press Release (July 31, 2020), www.bop.gov/resources/

news/pdfs/20200731_press_release_lex.pdf (last visited Sept. 30, 2020). Six

dead “recovered” inmates counsel strongly against denigrating, or worse simply

ignoring, the increased risk Lyman’s physical and medical condition expose

him to becoming a seventh.

      The takeaway from Lyman’s prior reinfection is not that he is immune

from the virus or that his risk factors aren’t risk factors at all. The takeaway is

that the BOP is not able to protect him from infection and that he is not able to

protect himself from infection. Indeed, the BOP recently admitted as much in a

status report filed in the class-action against Lompoc FCI’s warden, agreeing

“that prior infection with Covid-19 is not a basis to deny a class-member home

confinement.” Torres v. Milusnic, DC No. 2:20-cv-04450-CBM-PVC (C.D.

Cal.), ECF 84 (Joint Status Report) (Aug. 28, 2020). Lyman’s prior infection

and recovery thus do little, if anything, to offset the increased risk of infection,

hospitalization, and death that his physical and medical condition exposes him

to during the Covid-19 pandemic, and which neither he, nor the BOP, can

presently protect him against.




                                         38
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 46 of 55




             c.    The district court similarly took the wrong thing away from

the BOP’s self-reported statistics about Lompoc FCI. That the BOP self-reports

a lack of infections on any given day does not say anything more than that there

are, according to the BOP, no cases of infection on that day. Such a frozen

statistic certainly isn’t any guarantee against Covid-19’s return, nor any

testament to the efficacy of the BOP’s efforts to guard inmates from infection,

hospitalization, and death from Covid-19.

      That the BOP’s policies and procedures have not cleansed its facilities of

the virus and haven’t prevented inmates from becoming infected, reinfected,

and dying from the virus is the more important point. The BOP’s self-reporting,

moreover, does not come with any indicia of reliability. Indeed, since mid-July,

for example, the BOP has reported no pending Covid-19 tests for Lompoc FCI,

over the course of the past two months. See, e.g., United States v. Kapeli, DC

No. 1:16-cr-00172-JMS (D. Haw.), ECF 88-1 (chart of BOP’s daily testing data

for Lompoc FCI from July 15, 2020, to Sept. 16, 2020) (Sept. 18, 2020). That

generates only one inference: the BOP hasn’t tested any inmates at Lompoc FCI

for over two months (as of the writing of this brief in late September 2020).

Such a lack of testing, accordingly, skews the BOP’s daily self-reporting of the

number of inmates testing positive at Lompoc FCI.




                                        39
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 47 of 55




      Nor should any of that come as a surprise. Mid-July is when a district

court granted a preliminary injunction in the Torres class-action suit, litigation

in which remains contentious. See, e.g., Torres, supra, ECF 45 (July 14, 2020)

(order granting preliminary injunction); ECF 99 (Sept. 18, 2020) (order denying

the BOP’s motion to dismiss, ruling inmates pled sufficient facts to survive the

BOP’s motion to dismiss their claims that “Lompoc inmates are at substantial

risk of exposure to Covid-19, which is inconsistent with contemporary

standards of human decency,” and that the BOP has “ignored, and therefore

ha[s] been deliberately indifferent, to the known risk of inmate’s exposure to

infection, severe illness, and death due to Covid-19 based on the conditions at

Lompoc”). The BOP’s self-reported statistics for Lompoc FCI since mid-July

2020, accordingly, are not trustworthy in light of its continuing efforts to evade

being held accountable in the pending Torres class-action case.

      Two Lompoc FCI inmates, Daniel Lee Vadnais and Mohamed Yusuf,

have died from Covid-19. Inmate Death at Lompoc FCI, BOP Press Release

(June 1, 2020), www.bop.gov/resources/news/pdfs/20200601_press_release

_lom.pdf (last visited Sept. 30, 2020); Inmate Death at Lompoc FCI, BOP Press

Release (May 29, 2020), www.bop.gov/resources/news/pdfs/20200529_press

_release_lox.pdf (last visited Sept. 30, 2020). And at one point, nearly every

Lompoc FCI inmate was infected with Covid-19. Dave Minsky, Nearly all


                                        40
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 48 of 55




inmates at Lompoc FCI tested positive for coronavirus, most asymptomatic,

Lompoc Record (June 5, 2020), www.lompocrecord.com/news/local/crime-and-

courts/nearly-all-inmates-at-lompoc-fci-tested-positive-for-coronavirus-most-

asymptomatic/article_f3fb06d7-f231-52b3-8f89-f21f11b73974.html (last

visited Sept. 24, 2020). The takeaway from all of this is not that inmates in

Lompoc FCI are safe from infection, hospitalization, and death. The takeaway

is that the BOP is manipulating Lompoc FCI’s statistics in a ploy to avoid

liability in a class-action lawsuit. And, too, that the BOP is neither adequately

nor humanely guarding inmates against infection, hospitalization, and death

from Covid-19.

             d.     In accord with the forgoing, the district court’s analysis of

Lyman’s physical and medical condition is unreasonable and lacks support. For

either or both reasons, the district court’s ruling on this point is an abuse of

discretion and reversible error. Lewis v. Liberty Mutual Insurance Company,

953 F.3d 1160, 1163–1164 (CA9 2020) (striking “an unreasonable balance of

relevant factors” is an abuse of discretion).

      4.     Relevance of the post-FSA mandatory minimum

      The district court’s determination that the FSA’s lowering of §841’s

mandatory minimums was irrelevant under §3582(c)(1)(A) is also wrong.




                                         41
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 49 of 55




      Section 3582(c)(1)(A) directs courts to consider, to the extent applicable,

the factors set forth in §3553(a). Those factors, among other things, direct

courts to consider the need for the sentence to reflect the seriousness of the

offense and just punishment for it, as well as the kinds of sentences available

and the need to avoid sentencing disparity among defendants with similar

criminal records found guilty of similar conduct. 18 U.S.C. §§3553(a)(2), (3),

and (6). That the FSA lowered the mandatory minimum for defendants with

similar criminal records guilty of similar offense conduct is certainly relevant to

these factors.

      The FSA’s lowering of the mandatory minimum degrades the seriousness

of Lyman’s offense and alters the assessment of what constitutes just

punishment for it. The FSA’s lowering of the mandatory minimum also changes

assessment of the kinds of sentences Congress has enacted for violations of

§841(a). And assessment of sentencing disparity is altered by congressional

recognition that those punished for Lyman’s offense conduct, who have similar

criminal histories, should only face a 15-year mandatory minimum, rather than

the 20-year mandatory minimum Lyman is serving.

      Other courts (including at least one judge from the District of Hawaii)

agree that the FSA’s lowering of §841’s mandatory minimums is at least

relevant to an assessment of §3553(a)’s factors in a §3582(c)(1)(A) proceeding.


                                        42
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 50 of 55




See, e.g., Cisneros, 2020 WL 3065103, at *3 (D. Haw.); see also, e.g., United

States v. Cantu-Rivera, 2019 WL 2578272, at *2 (S.D. Tex.) (June 24, 2019)

(unpublished); United States v. Mondaca, 2020 WL 1029024, at *6 (S.D. Cal.)

(Mar. 3, 2020) (slip copy); United States v. Chan, 2020 WL 1527895, at *6

(N.D. Cal.) (Mar. 31, 2020) (slip copy); United States v. Bryant, 2020 WL

2085471, at *3 (D. Md.) (Apr. 30, 2020) (slip copy); United States v. Quinn,

___ F.Supp.3d ___, 2020 WL 3275736, at *4 (N.D. Cal. 2020); United States v.

Quintero, 2020 WL 3639936, at *3 (N.D. Cal.) (July 6, 2020) (slip copy).

      On this point, as on all the others briefed here, the district court

misunderstood the scope of its discretion, this time by ruling that the court

could not consider the FSA’s reduction of the mandatory minimum applicable

to Lyman’s offense and criminal history. And once again, Zullo gets it right:

      Nor can we say, as a matter of law, that a court would abuse its
      discretion by granting someone compassionate release on this
      record. It bears remembering that compassionate release is a
      misnomer. [Section] 3582(c)(1)(A) in fact speaks of sentence
      reductions. A district court could, for instance, reduce but not
      eliminate a defendant’s prison sentence, or end the term of
      imprisonment but impose a significant term of probation or
      supervised release in its place. Id. Beyond this, a district court's
      discretion in this area—as in all sentencing matters—is broad. See
      United States v. Cavera, 550 F.3d 180, 188 (CA2 2008) (en banc)
      (noting a district court’s “very wide latitude” in sentencing). The
      only statutory limit on what a court may consider to be
      extraordinary and compelling[] is that “[r]ehabilitation ... alone
      shall not be considered an extraordinary and compelling reason.”
      28 U.S.C. § 994(t) (emphasis added).


                                        43
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 51 of 55




             In the instant case, Zullo does not rely solely on his
      (apparently extensive) rehabilitation. Zullo’s age at the time of his
      crime and the sentencing court’s statements about the injustice of
      his lengthy sentence might perhaps weigh in favor of a sentence
      reduction. Indeed, Congress seemingly contemplated that courts
      might consider such circumstances when it passed the original
      compassionate release statute in 1984. See S. Rep. No. 98-225, at
      55-56 (1984) (noting that reduction may be appropriate when
      “other extraordinary and compelling circumstances justify a
      reduction of an unusually long sentence” (emphasis added)); see
      also United States v. Maumau, 2020 WL 806121, at *6-*7 (D.
      Utah) (Feb. 18, 2020) [(slip copy)] (further discussing this history
      and collecting cases where district courts have reduced sentences
      in part because they were overly long).

Zullo, 2020 WL 5739712, at *8. The district court had, but believed it did not

have, the discretion to determine that Lyman’s sentence was simply too long in

light of the FSA’s reduction of the mandatory minimum applicable to his

offense conduct and criminal history. The district court, moreover, had the

discretion to take the FSA into account to reduce Lyman’s sentence to the FSA-

approved 15-year minimum or, alternatively, to convert his unserved

imprisonment (be it calculated by reference to the FSA 15-year minimum or the

over-long 20-year minimum originally imposed) to supervised release upon

reducing his imprisonment term to time served.




                                       44
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 52 of 55




                                    Conclusion

      This Court should vacate the district court’s order denying Lyman’s

motion for reduction of his sentence under 18 U.S.C. §3582(c)(1)(A). This

Court should instruct the district court on the proper extent of its discretion to

grant a defendant’s motion for a compassionate release sentencing reduction

under §3582(c)(1)(A), not only by holding USSG §1B1.13 does not apply to a

defendant’s motion, but by informing the district court that the FSA’s

mandatory-minimum reduction is relevant. And this Court should accordingly

remand this matter for further proceedings consistent with §3582(c)(1)(A) and

§3553(a) and the full scope of judicial discretion those statutes allow.

      This Court should also consider remanding this matter to a different

district court judge. Judge Watson’s uniform failure to grant any defendant

compassionate release during the pandemic is troubling enough. But he has also

abdicated his statutory discretion to the guideline and the BOP far too readily

and to such an extent that he has now issued an order (see footnote 2) that

plainly and inexplicably defies what §3582(c)(1)(A) unambiguously requires.

United States v. Paul, 561 F.3d 970, 975 (CA9 2009) (reaffirming that remand

to a different judge is appropriate when the judge would have substantial

difficulty disregarding his previously expressed views, when necessary to




                                         45
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 53 of 55




preserve an appearance of justice, and when doing so doesn’t waste judicial

resources).

      DATED: Honolulu, Hawaii, October 7, 2020.

                                /s/ Max J. Mizono
                               MAX J. MIZONO
                               Assistant Federal Defender
                               Counsel for Jacob Lyman




                                      46
    Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 54 of 55




                          Statement of Related Cases

      A complete census of pandemic-related appeals in §3582(c)(1)(A)

compassionate release cases is beyond counsel’s ken. Those pending in this

Court filed by the Office of the Federal Public Defender for the District of

Hawaii as of the date this brief was written are:

         • United States v. Rivera, CA9 No. 20-10214;

         • United States v. Aruda, CA9 No. 20-10245;

         • United States v. Cross, CA9 No. 20-10259;

          • United States v. Tufele, CA9 No. 20-10282;

          • United States v. Mauga, CA9 No. 20-10294; and

          • United States v. Ogata, CA9 No. 20-10312.

      DATED: Honolulu, Hawaii, October 7, 2020.

                                  /s/ Max J. Mizono
                                 MAX J. MIZONO
                                 Assistant Federal Defender
                                 Counsel for Jacob Lyman
     Case: 20-10242, 10/07/2020, ID: 11851148, DktEntry: 2, Page 55 of 55




                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

                  Form 8. Certificate of Compliance for Briefs

9th Cir. Case Number(s) 20-10242

       I am the attorney or self-represented party.

      This brief contains 10,318 words, excluding the items exempted by Fed.
R. App. P. 32(f). The brief’s type size and typeface comply with Fed. R. App.
P. 32(a)(5) and (6).

       I certify that this brief:

[ X ] complies with the word limit of Cir. R. 32-1.

[ ] is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

[ ] is an amicus brief and complies with the word limit of Fed. R. App. P.
29(a)(5), Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).

[ ] is for a death penalty case and complies with the word limit of Cir. R. 32-4.

[ ] complies with the longer length limit permitted by Cir. R. 32-2(b) because:
   [ ] it is a joint brief submitted by separately represented parties;
   [ ] a party or parties are filing a single brief in response to multiple briefs; or
   [ ] a party or parties are filing a single brief in response to a longer joint brief.

[ ] complies with the length limit designated by court order dated _________.

[ ] is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).


Signature /s/ Max J. Mizono               Date October 7, 2020
